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                                                                                   E-FILED
                                                 Tuesday, 15 September, 2020 06:26:02 PM
                                                              Clerk, U.S. District Court, ILCD

               UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS
                      URBANA DIVISION

UNITED STATES OF AMERICA,           )
                                    )
          Plaintiff                 )
                                    )
     v.                             ) Case Nos. 18-CR-20025
                                    )           03-CR-20104
WILLIAM A. GOODWILL,                )
                                    )
Defendant.                          )

             GOVERNMENT’S MOTION TO CONTINUE
                  THE SEPTEMBER 25, 2020,
             SENTENCING AND REVOCTION HEARING

  The United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, and Ryan Finlen,

Assistant United States Attorney, requests that this Court continue

the September 25, 2020, sentencing hearing in case number 18-cr-

20025, and the corresponding revocation hearing in case number 03-

cr-20104 to a date after October 16, 2020. In support of this motion,

the United States of America states as follows:

  1. After this Court denied the defendant’s motion to suppress on

January 3, 2020, the defendant entered a conditional plea of guilty

on January 28, 2020. R. 37, 45; D.E. 01/28/2020.



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  2. In light of the pending, dispositive appellate litigation in United

States v. Ruth, No. 20-1034 (7th Cir.), the parties reached an

agreement in April 2020 to continue the sentencing until Ruth could

be decided. R. 58. The Court granted that motion and set this matter

for sentencing on December 4, 2020.

  3. After Ruth was decided, the defendant, on August 6, 2020,

requested that the sentencing be moved up. The undersigned did not

oppose that request so long as the sentencing was set in the second

half of September. R. 59 at ¶ 11. The Court granted that request and

scheduled the sentencing for a date in the second half of September,

specifically September 25, 2020, at 10:00 a.m., as the motion

requested. D.E. 08/07/2020.

  4. Although the defendant’s request included an indication that

the defendant would consent to sentencing via video conferencing, R.

59 at ¶ 12, the Court set the sentencing for a personal appearance in

Springfield, Illinois. D.E. 08/07/2020.

  5. The undersigned is scheduled to commence a jury trial in the

matter of United States v. Stapleton, No. 18-cr-20028, in Peoria,

beginning on Monday, September 28, 2020. After the Court set this

matter for sentencing, the Court in Stapleton denied that defendant’s

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requests to continue the September 28 trial, the last of those request

was made and denied on September 15, 2020.

  6. In preparation of the Stapleton trial the undersigned will be in

Peoria preparing witnesses to testify on September 25, 2020.

Appearing for the defendant’s in-person sentencing on September 25,

2020, will prevent the undersigned from preparing for the September

28 trial for the first half of the day on September 25 due to the

necessary travel to and from Springfield.

  7. Additionally, the undersigned is scheduled to be engaged in a

trial in United States v. Pennington, No. 18-cr-20021 that begins

October 13, 2020, and likely concludes October 16, 2020.

  8. Additionally and more importantly, the parties reviewed the

initial Presentence Investigation Report (PSR), R. 57, and submitted

their objections and comments to U.S. Probation in May 2020, prior

to the Ruth decision. At that time, the initial PSR calculated the

defendant’s advisory guideline range at 120 months, as it did not

designate the defendant as a Career Offender. R. 57 at ¶ 80.

  9. With Ruth decided, the information filed pursuant to § 851 may

rely on an improper predicate conviction, but the defendant’s prior

drug conviction may yet serve as a predicate offense for the guideline

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Career Offender enhancement. R. 59 at ¶¶ 5-6. In short, however,

there is a potential for several dramatic changes to the PSR in order

to accurately incorporate the impacts of the Ruth decision. As of yet,

the revised PSR is not available.

  10.      Additional time will allow U.S. Probation to complete the

revised PSR in a way that accurately reflects the parties’ positions in

light of the Ruth decision and will allow the parties and U.S. Probation

to iron out the impact of Ruth on the defendant’s advisory guideline

sentencing range. This will, in turn, enable the Court to more easily

resolve any remaining objections at the defendant’s sentencing.

  11.      A brief continuance will not only allow the undersigned to

participate at this defendant’s sentencing without the distraction of

a pending trial, and additional time will allow the parties and the U.S.

Probation Office to prepare an amended PSR that incorporates the

Ruth decision and the parties’ respective positions.




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  WHEREFORE, the United States respectfully requests that this

Court re-set the sentencing in this matter for a date after October 16,

2020, which is after the anticipated conclusions of the Stapleton and

Pennington trials.


                                 Respectfully submitted,

                                 JOHN C. MILHISER
                                 United States Attorney

                           By: s/ Ryan Finlen
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                   CERTIFICATE OF SERVICE

     I hereby certify that on September 15, 2020, I caused the
foregoing to be filed with the Clerk of the Court using the CM/ECF
system, which will send a copy to all parties of record.



                            /s/ Ryan Finlen
                          Ryan Finlen
                          Assistant U.S. Attorney
